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                                United States District Court
                                          for the
                                Southern District of Florida

   PayRange, Inc., Plaintiff,               )
                                            )
   v.                                       )
                                              Civil Action No. 20-24342-Civ-Scola
                                            )
   Kiosoft Technologies, LLC, and           )
   Techtrex, Inc., Defendants.              )

                Scheduling Order and Order of Referral to Mediation
         On October 26, 2021, this Court issued an Order requiring the parties to
  schedule and conduct a discovery and planning conference, and to file with the
  Court a joint discovery plan and conference report by April 6, 2021. To date,
  the parties have not filed the required report, nor have they moved to extend
  this Court imposed deadline. In other words, the parties have ignored the
  Court’s Order. In light of this violation, and in order to resolve this case justly,
  economically, and efficiently, this matter is being scheduled on a case track
  calculated as if the scheduling report had been timely filed. The parties are
  forewarned that future violations of this Court’s orders may result in sanctions,
  up to and including dismissal. Fed. R. Civ. P. 16(f). The parties are ordered to
  file their joint discovery plan and report, without a proposed schedule, by
  [date].
         This matter is set for trial during the two-week trial period beginning on
  August 15, 2022 Calendar call will be held at 9:00 a.m. on the preceding
  Tuesday August 9, 2022 at the Wilkie D. Ferguson, Jr. United States
  Courthouse, 400 N. Miami Avenue, Courtroom 12-3, Miami, Florida. A pretrial
  conference will be held immediately following calendar call only if requested by
  the parties in advance.
      1. The parties must comply with the following schedule:
                      Deadline for a party claiming patent infringement to serve
                      Disclosure of Asserted Claims and Infringement
        May 4, 2021
                      Contentions and make accompanying document
                      production.

    May 10, 2021      Deadline to join additional parties or to amend pleadings.

                      Deadline for a party opposing a claim of patent
    June 1, 2021      infringement or asserting invalidity or unenforceability to
                      serve Non-Infringement, Unenforceability, and Invalidity
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                    Contentions and make accompanying document
                    production.

                    Deadline to Exchange Proposed Terms for Construction.
                    Deadline to submit joint notice indicating whether the
   June 15, 2021    parties consent to jurisdiction before the designated
                    magistrate judge for purposes of dispositive motions or final
                    disposition or both.

                    Deadline to Exchange of Preliminary Claim Constructions
   August 1, 2021
                    and Extrinsic Evidence.
   September 10,
                    Deadline to file joint interim status report.
       2021
   September 20,    Deadline to File Joint Claim Construction and Prehearing
       2021         Statement.

                    Deadline to complete claim construction discovery.
                    Deadline to file a motion to stay the lawsuit pending
                    reexamination in the U.S. Patent Office.
     October 10,
        2021        Deadline to file proposed order scheduling mediation,
                    setting forth the name of the mediator, and the date, time,
                    and location of the mediation, consistent with the order of
                    referral to mediation.

                    Deadline for any party claiming patent infringement to file
                    opening claim construction brief (simultaneous opening
     October 24,    briefs are not permitted) and deadline to file opening brief
        2021        asserting claims for invalidity and unenforceability.
                    Response and reply deadlines will proceed as provided for
                    in the Local Rules.

                    Deadline to provide information regarding advice of counsel.
     January 8,
                    (If the Court has not yet ruled on claim construction the
       2022
                    parties should file a motion to extend this date.)

                    Deadline to complete fact discovery.
                    Deadline to disclose the identity of expert witnesses, and to
     February 7,    exchange expert witness summaries/reports pursuant to
        2022        Federal Rule of Civil Procedure 26(a)(2). Rebuttal
                    disclosures are permitted, and must conform to the
                    deadline set forth in Federal Rule of Civil Procedure
                    26(a)(2)(C)(ii).
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    February 17,
                    Deadline to complete mediation.
       2022
     March 24,
                    Deadline to complete all expert discovery.
       2022
                    Deadline for the filing of all dispositive motions and Daubert
    April 3, 2022
                    motions.

                    Deadline for the filing of pretrial motions, including motions
   June 11, 2022
                    in limine.

                    Deadline to file joint pretrial stipulation under Local Rule
    July 15, 2022   16.1(e) and pretrial disclosures as required by Federal Rule
                    of Civil Procedure 26(a)(3).

                    Deadline to file proposed jury instructions (if the matter is
                    set for a jury trial) or proposed findings of fact and
    July 29, 2022
                    conclusions of law (if the matter is set for a bench trial)
                    consistent with Local Rule 16.1(k).

     2. Interim Joint Status Report. The parties are required to submit an
  interim joint status report addressing the following issues:
       a) Have all defendants been served? If not, state the reasons.
      b) Have all defendants responded to the complaint? If not, state the
         reasons.
      c) If this is a class action, has a motion for class certification been
         filed? If so, what is its status?
      d) Have the parties agreed on and selected a mediator? Have the
         parties agreed upon a place, date, and time for mediation?
      e) Have the parties engaged in informal settlement negotiations? If
         not, explain the reasons for the failure to do so. If yes, state the
         status of such negotiations (e.g., ongoing, impasse, etc.) and the
         relative prospects for resolution through informal means.
      f) Describe the status of discovery conducted to date, and identify
         whether the parties reasonably believe that they will be able to
         complete discovery by the Court’s deadline. If not, explain the
         reasons.
      g) Identify any other issues that the Court should be aware of that
         may affect the resolution of this matter or the schedule as
         currently set.
      3. References to documents in summary-judgment motions. When a party
  files a motion for summary judgment, the party must include the ECF number
  of any exhibits or other documents referred to in the motion or the
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  accompanying statement of material facts (required by Local Rule 56.1). This
  means that if a document is not already on the record, a party will need to
  submit a Notice of Filing before he or she files the summary-judgment motion
  and the statement of material facts.
      4. Limit on motions in limine & Daubert motions. Each party is limited to
  filing one motion in limine and one Daubert motion. If a party cannot address
  his or her evidentiary issues or expert challenges in a 20-page motion, leave to
  exceed the page limitation will be granted upon a showing of good cause. The
  parties are reminded that motions in limine and Daubert motions must contain
  the Local Rule 7.1(a)(3) pre-filing conference and certification.
     5. Jury Instructions. The parties must submit their proposed jury
  instructions jointly, though they need not agree on each proposed instruction.
  Where both parties agree on a proposed instruction, that instruction must be
  set out in regular typeface. Instructions proposed only by a plaintiff must be
  underlined. Instructions proposed only by a defendant must be bold-faced.
  Every instruction must be supported by a citation of authority. The parties
  should use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil
  Cases, including the directions to counsel, or the applicable state pattern jury
  instructions. The parties must jointly file their proposed jury instructions via
  CM/ECF, and must also submit their proposed jury instructions to the Court
  via e-mail at scola@flsd.uscourts.gov in Word format (.doc).
     6. Trial Exhibits. All trial exhibits must be pre-marked. Plaintiff’s exhibits
  must be marked numerically with the letter “P” as a prefix. Defendant’s
  exhibits must be marked alphabetically with the letter “D” as a prefix. A list
  setting out all exhibits must be submitted at the time of trial. This list must
  indicate the pre-marked identification label (e.g., P-1, or D-A) and must also
  include a brief description of the exhibit.
     7. Deposition Designations. Any party intending to use deposition
  testimony as substantive evidence must designate by line and page reference
  those portions in writing. The designations must be served on opposing counsel
  and filed with the Court 14 days before the deadline to file the joint pretrial
  stipulation. The adverse party must serve and file any objections and any
  cross-designations within seven days. The initial party then has seven days to
  serve and file objections to the cross-designations.
    8. Voir Dire Questions. The Court will require each prospective juror to
  complete a brief written questionnaire prior to the commencement of
  questioning in the courtroom. Any party may up to five proposed, case-specific
  questions to be included in the questionnaire. The proposed questions must be
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  filed with the Court at the time of the filing of the joint pretrial stipulation, and
  must also be submitted to the Court via e-mail at scola@flsd.uscourts.gov in
  Word format (.doc).
     9. Notification of juror misconduct. Every party has an affirmative duty to
  notify the Court immediately of any possible juror misconduct or any
  information that might possibly reflect on a juror’s ability to serve. Immediate
  notification is required to allow the Court the opportunity to address the issue,
  including questioning the juror and, if necessary, discharging the juror and
  seating an alternate juror. In any trial lasting more than five days, the Court
  imposes an affirmative duty on both sides to conduct all reasonable
  investigations of juror misconduct, including statements provided during voir
  dire, and to advise the Court immediately of any discovered misconduct. Any
  party who fails to conduct a reasonable investigation in this situation and later
  discovers an incidence of juror misconduct has waived his, her, or its right to
  rely on that misconduct in a motion before this Court.
      10.      Settlement Conference Before Magistrate Judge. The parties may,
  at any time, file a motion requesting a settlement conference before Magistrate
  Judge Edwin G. Torres. The Court encourages the parties to consider a
  confidential settlement conference with Judge Torres, especially if the parties
  believe there is a meaningful chance of reaching an early, amicable resolution
  of their dispute.
     11.       Settlement Notification. If this matter is settled, counsel are
  directed to inform the Court promptly via telephone (305-523-5140) and/or e-
  mail (scola@flsd.uscourts.gov).
        Done and ordered at Miami, Florida, on April 13, 2021.


                                                ________________________________
                                                Robert N. Scola, Jr.
                                                United States District Judge

               [Order of Referral to Mediation on following page]
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                                United States District Court
                                          for the
                                Southern District of Florida

   PayRange, Inc., Plaintiff,               )
                                            )
   v.                                       )
                                            ) Civil Action No. 20-24342-Civ-Scola
   Kiosoft Technologies, LLC, and           )
   Techtrex, Inc., Defendants.              )

                            Order of Referral to Mediation
         Trial having been set in this matter, pursuant to Federal Rule of Civil
  Procedure 16 and Local Rule 16.2, it is ordered and adjudged as follows:
      1. All parties are required to participate in mediation. The parties must
  conduct their mediation no later than the deadline set out in the Court’s
  Scheduling Order.
      2. The Court designates Plaintiff’s counsel as lead counsel for purposes of
  this mediation order. Upon written agreement by all counsel of record and any
  unrepresented parties, the parties may designate a different attorney to be lead
  counsel for purposes of this mediation order. Lead counsel is responsible for
  scheduling the mediation conference.
      3. The parties are encouraged to avail themselves of the services of any
  mediator on the List of Certified Mediators, maintained in the office of the Clerk
  of the Court, but may select any other mediator. The parties must agree upon a
  mediator within 60 days from the date of this Order. If there is no agreement,
  lead counsel must promptly notify the Clerk of the Court in writing and the
  Clerk of the Court will designate a mediator from the List of Certified
  Mediators. That designation will be made on a blind rotation basis.
      4. A place, date, and time for mediation convenient to the mediator, counsel
  of record, and unrepresented parties must be established no later than the
  deadline in the Scheduling Order. Lead counsel must complete the attached
  form Order Scheduling Mediation and submit it to the Court. The parties must
  agree on a place, date, and time for mediation and lead counsel must
  submit the proposed order scheduling mediation, no later than the
  deadline set forth in the Scheduling Order.
      5. Pursuant to Local Rule 16.2(e), the appearance of counsel and each party
  or representatives of each party with full authority to enter into a full and
  complete compromise and settlement is mandatory. If insurance is involved, an
  adjuster with authority up to the policy limits or the most recent demand,
  whichever is lower, must attend.
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      6. All proceedings of the mediation will be confidential and privileged.
      7. At least fourteen days prior to the mediation date, each party must
  present to the mediator a confidential brief written summary of the case
  identifying issues to be resolved. The mediator is authorized to grant
  extensions of time up to the mediation for the parties to file their mediation
  statements.
      8. The Court may impose sanctions against parties and/or counsel who do
  not comply with the attendance or settlement authority requirements in this
  Order, or who otherwise violate the terms of this Order. The mediator must
  report non-attendance and may recommend imposition of sanctions by the
  Court for non-attendance.
      9. The mediator must be compensated in accordance with the standing
  order of the Court entered pursuant to Local Rule 16.2(b)(6), or on such basis
  as may be agreed to in writing by the parties and the mediator selected by the
  parties. The cost of mediation must be shared equally by the parties unless
  otherwise ordered by the Court. All payments must be remitted to the mediator
  within forty-five days of the date of the bill. Notice to the mediator of
  cancellation or settlement prior to the scheduled mediation conference must be
  given at least three full business days in advance. Failure to do so will result in
  imposition of a fee for two hours of mediation.
      10.       If a full or partial settlement is reached in this case, counsel must
  promptly notify the Court of the settlement in accordance with Local Rule
  16.2(f), by the filing of a notice of settlement signed by counsel of record within
  fourteen days of the mediation conference. Thereafter the parties must
  promptly submit an appropriate pleading concluding the case.
      11.       Within seven days following the mediation conference, the
  mediator must file a Mediation Report indicating whether all required parties
  were present. The report must also indicate whether the case settled (in full or
  in part), was adjourned, or whether the mediator declared an impasse. If the
  mediator fails to file a Mediation Report within seven days following the
  mediation conference, lead counsel must file a Mediation Report within
  14 days after the mediation conference.
      12.       If mediation is not conducted, the case may be stricken from the
  trial calendar, and other sanctions may be imposed.
     Done and ordered at Miami, Florida on April 13, 2021.


                                                             f
                                              __________________ ____________ ____________ ____________ ____________ ____________ ____________ ____________ ____________ ____________ ____________ ____________ ____________ ____________ ____________ ____________ ____________ ____________ ____________ ____________ _____________ ____________ ____________ ____________ ____________ ____________ ____________ __




                                              Robert N. Scola, Jr.
                                              United States District Judge
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             Attachment “A” to the Order Of Referral To Mediation:
                      Form Order Scheduling Mediation


                             United States District Court
                                       for the
                             Southern District of Florida

   _______________________, Plaintiff    )
                                         )
   v.                                    )   Civil Action No. __________-Civ-Scola
                                         )
   _______________________, Defendant    )

                            Order Scheduling Mediation

        The parties will hold the mediation conference in this matter before
  (mediator) on (date) .at (time) .at (location) . The mediator and the parties have
  agreed to this date. The parties may not reschedule the mediation without leave
  of the Court.

        Done and ordered in chambers, at Miami, Florida, on _________________.

                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
